USCA11 Case: 17-13025   Document: 97     Date Filed: 08/28/2019    Page: 1 of 9



                  No. 17-13025-GG
   ════════════════════════════════════════
              UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT
          ──────────────────────────────
                  AMANDA KONDRAT’YEV, et al.,
                      Plaintiffs-Appellees,
                                   v.
               CITY OF PENSACOLA, FLORIDA, et al.,
                       Defendants-Appellants.
          ──────────────────────────────
             On Appeal from the United States District Court
                  for the Northern District of Florida
                   Case No. 3:16-cv-00195-RV-CJK

   ════════════════════════════════════════
         NOTICE OF SUBSTITUTION OF COUNSEL
   ════════════════════════════════════════


                                        STEVE MARSHALL
                                          Ala. Attorney General
                                        Edmund G. LaCour Jr.
                                          Ala. Solicitor General
                                        OFFICE OF THE ATTORNEY GENERAL
                                        501 Washington Avenue
                                        Montgomery, AL 36130
                                        (334) 242-7300

                                        Counsel for Amicus Curiae
                                        State of Alabama
  USCA11 Case: 17-13025       Document: 97Kondrat’yev
                                            Date Filed:v.08/28/2019   Page: 2Florida
                                                          City of Pensacola,  of 9
                                                                       No. 17-13025

                 CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Federal Rule of Appellate Procedure 26,1, and Eleventh Circuit

Rule 26.1, undersigned certifies that the following entities and persons have an

interest in the outcome of this appeal:

      Abudu, Nancy G. (Counsel for amici curiae)

      Agudath Israel of America (amicus curiae)

      Allen, Norton & Blue, PA (law firm for Appellants)

      American Civil Liberties Union (amicus curiae)

      American Civil Liberties Union of Florida (amicus curiae)

      American Humanist Association (law firm for Appellees)

      Americans United for Separation of Church and State (amicus curiae)

      Anti-Defamation League (amicus curiae)

      Baptist Joint Committee for Religious Liberty (amicus curiae)

      Barkey, David L. (Counsel for amici curiae)

      Becket Fund for Religious Liberty (law firm for Appellants)

      Beggs & Lane, RLLP (law firm for Appellants)

      Bondi, Pamela Jo (Counsel for amicus curiae State of Florida)

      Brasher, Andrew L. (former Counsel for amicus curiae State of Alabama)

      Buschbacher, Michael B. (Counsel for amicus curiae)

      Carr, Christopher M. (Counsel for amicus curiae State of Georgia)

                                          C-1 of 6
USCA11 Case: 17-13025    Document: 97       Date Filed: 08/28/2019   Page: 3 of 9
   Center for Inquiry (amicus curiae)

   Central Conference of American Rabbis (amicus curiae)

   City of Pensacola, Florida (Appellant)

   Clark, Matthew J. (Counsel for amicus curiae)

   Coalition for Jewish Values (amicus curiae)

   Coleman, Miles E. (Counsel for amicus curiae)

   Cooper, Brian (Appellant)

   Cozen O’Connor (law firm for amici curiae)

   Daniel, James Nixon (Counsel for Appellants)

   Darwall, Julian (Counsel for amici curiae)

   Davis, Joseph (Counsel for Appellants)

   DeWine, Michael (Counsel for amicus curiae State of Ohio)

   Didier, Terrie Lee (Counsel for Appellants)

   Foundation for Moral Law, Inc. (amicus curiae)

   Freedom From Religion Foundation (law firm for Appellees)

   Freeman, Stephen M. (Counsel for amici curiae)

   Gay, Jack Wesley (Counsel for Appellants)

   Goodrich, Luke William (Counsel for Appellants)

   Hadassah, Women’s Zionist Organization of Am., Inc. (amicus curiae)

   Hawley, Joshua D. (Counsel for amicus curiae State of Missouri)

                                  C-2 of 6
USCA11 Case: 17-13025     Document: 97     Date Filed: 08/28/2019      Page: 4 of 9
   Haynes and Boone, LLP (law firm for amicus curiae)

   Hayward, Ashton (Appellant)

   Hill, Jr., Curtis T. (Counsel for amicus curiae State of Indiana)

   Hunter, Mike (Counsel for amicus curiae State of Oklahoma)

   International Municipal Lawyers Association (amicus curiae)

   Jenny, Brenna E. (Counsel for amicus curiae)

   Jewish Social Policy Action Network (amicus curiae)

   Jews for Religious Liberty (amicus curiae)

   Jones Day (law firm for amici curiae)

   Junior Chamber International Florida (amicus curiae)

   Kahn, Charles J. (Magistrate Judge)

   Katskee, Richard B. (Counsel for amici curiae)

   Kaur, Amrith (Counsel for amici curiae)

   Klingler, Richard D. (Counsel for amicus curiae)

   Kondrat’yev, Amanda (Appellee)

   Kondrat’yev, Andreiy (Appellee)

   LaCour Jr., Edmund G. (Counsel for amicus curiae State of Alabama)

   Landrey, Jeff (Counsel for amicus curiae State of Louisiana)

   Laxalt, Adam Paul (Counsel for amicus curiae State of Nevada)

   Little, Nicholas J. (Counsel for amici curiae)

   Mach, Daniel (Counsel for amici curiae)

                                C-3 of 6
USCA11 Case: 17-13025     Document: 97    Date Filed: 08/28/2019   Page: 5 of 9
   Markert, Rebecca (Counsel for Appellees)

   Marshall, Steve (Counsel for amicus curiae State of Alabama)

   McConnell, Michael W. (Counsel for Appellants)

   Miller, Monica Lynn (Counsel for Appellees)

   Muslim Advocates (amicus curiae)

   National Council of Jewish Women (amicus curiae)

   Nellis, Andrew L. (Counsel for amici curiae)

   Niose, David A. (Counsel for Appellees)

   Paulsen, Ryan (Counsel for amicus curiae)

   Pasek, Jeffrey I. (Counsel for amici curiae)

   Peterson, Doug (Counsel for amicus curiae State of Nebraska)

   Reyes, Sean (Counsel for amicus curiae State of Utah)

   Roth, Yaakov M. (Counsel for amici curiae)

   Ryland, Andre (Appellee)

   Schmidt, Derek (Counsel for amicus curiae State of Kansas)

   Shebaya, Sirine (Counsel for amici curiae)

   Sidley Austin LLP (law firm for amicus curiae)

   Sikh Coalition (amicus curiae)

   Smith, Jonathan (Counsel for amici curiae)

   State of Alabama (amicus curiae)

                              C-4 of 6
USCA11 Case: 17-13025     Document: 97      Date Filed: 08/28/2019   Page: 6 of 9

   State of Florida (amicus curiae)

   State of Georgia (amicus curiae)

   State of Indiana (amicus curiae)

   State of Kansas (amicus curiae)

   State of Louisiana (amicus curiae)

   State of Missouri (amicus curiae)

   State of Nebraska (amicus curiae)

   State of Nevada (amicus curiae)

   State of North Dakota (amicus curiae)

   State of Ohio (amicus curiae)

   State of Oklahoma (amicus curiae)

   State of South Carolina (amicus curiae)

   State of Utah (amicus curiae)

   Stenehjem, Wayne (Counsel for amicus curiae State of North Dakota)

   Suhor, David (Appellee)

   Suri, Vivek (Counsel for amici curiae)

   The Rabbinical Council of America (amicus curiae)

   Todd, Gordon D. (Counsel for amicus curiae)

   Union for Reform Judaism (amicus curiae)

   Union of Orthodox Jewish Congregations of America (amicus curiae)

                                   C-5 of 6
USCA11 Case: 17-13025    Document: 97   Date Filed: 08/28/2019   Page: 7 of 9


   Vinson, C. Roger (District Court Judge)

   Webb, Derek A. (Counsel for amicus curiae)

   Wilson, Alan (Counsel for amicus curiae State of South Carolina)

   Windham, Lori (Counsel for Appellants)

   Women of Reform Judaism (amicus curiae)

   Ziegler, Madeline (Counsel for Appellees)


         Respectfully submitted this 28th day of August, 2019.

                                  STEVE MARSHALL
                                   Alabama Attorney General

                                     /s/ Edmund G. LaCour Jr.
                                  Edmund G. LaCour Jr.
                                   Alabama Solicitor General
                                  STATE OF ALABAMA
                                  OFFICE OF THE ATTORNEY GENERAL
                                  501 Washington Avenue
                                  Montgomery, AL 36130
                                  (334) 242-7300

                                  Counsel for Amicus Curiae
                                  State of Alabama




                                 C-6 of 6
 USCA11 Case: 17-13025       Document: 97    Date Filed: 08/28/2019    Page: 8 of 9



                  NOTICE OF SUBSTITION OF COUNSEL

      Please take notice that Edmund G. LaCour Jr. enters his appearance as counsel

for Amicus Curiae, State of Alabama, replacing Andrew L. Brasher who is no longer

with the Office of the Attorney General of Alabama. Edmund G. LaCour Jr. will

serve as counsel for the State of Alabama.

                                             Respectfully submitted,


                                             /s/ Edmund G. LaCour Jr.
                                             Edmund G. LaCour Jr.
                                               Alabama Solicitor General
 USCA11 Case: 17-13025      Document: 97    Date Filed: 08/28/2019   Page: 9 of 9



                        CERTIFICATE OF SERVICE

      I certify that on August 28, 2019, I electronically filed this document using

the Court’s CM/ECF system, which will serve an electronic copy on all registered

counsel of record.




                                            /s/ Edmund G. LaCour Jr.
                                            Edmund G. LaCour Jr.
                                              Alabama Solicitor General




                                        2
